               Case 2:13-cr-00300-GEB Document 39 Filed 05/15/14 Page 1 of 2

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     Facsimile: (916) 449-9543
 3
     Attorney for Defendant
 4   JOHN HOLLISTER MAHAN
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 7                          IN THE UNITED STATES DISTRICT COURT FOR THE
 8                                   EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                           )   Case No: 13-0300 GEB
                                                         )
11                  Plaintiff,                           )
                                                         )   STIPULATION REGARDING ADDITIONAL
12          vs.                                          )   PRE TRIAL RELEASE CONDITION
                                                         )
13   JOHN HOLLISTER MAHAN, et al.                        )   Date: N/A
                                                         )   Time: N/A
14                  Defendants.                          )   Courtroom: Honorable
                                                         )   GARLAND E. BURRELL JR.
15                                                       )
                                                         )
16                                                       )
17

18
                                                  STIPULATION
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20          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

21   through his counsel of record, hereby stipulate and agree to add the following condition to defendant
22   JOHN HOLLISTER MAHAN’s existing conditions of pre-trial release:
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24
     You shall participate in a program of medical or psychiatric treatment, including treatment for drug or
25   alcohol dependency, as approved by the pretrial services officer. You shall pay all or part of the costs of
     the counseling services based upon your ability to pay, as determined by the pretrial services officer;
26
27

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                                                STIPULATION RE PRETRIAL RELEASE CONDITION
         Case 2:13-cr-00300-GEB Document 39 Filed 05/15/14 Page 2 of 2

       IT IS SO STIPULATED AND AGREED.
 1

 2                                                UNITED STATES ATTORNEY

 3   DATED: 5-13-2014                       By:   /s/ Samuel Wong
                                                  Assistant United States Attorney
 4
     DATED: 5-13-2014                             /s/ Patrick K. Hanly
 5
                                                  Counsel for Defendant
 6                                                John H. Mahan

 7

 8                                     ORDER

 9
       IT IS SO ORDERED.
10
       Dated: May 15, 2014
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                        STIPULATION RE PRETRIAL RELEASE CONDITION
